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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:12CR282
                                              )
              Plaintiff,                      )
                                              )                MEMORANDUM
              vs.                             )                 AND ORDER
                                              )
ROSALINA GONZALEZ,                            )
                                              )
              Defendant.                      )

       This matter is before the Court on Filing No. 606, entitled “Motion Under 28 U.S.C.

§ 2255 to Vacate, Set Aside or Correct Sentence,” submitted by the Defendant, Rosalina

Gonzalez. In her motion, the Defendant asks for a sentence reduction based on: (Ground

One) “Amendment 794, Minor Role Reduction,” and (Ground Two) “2 level Safety Valve

Reduction.”

       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a § 2255 motion, and describes the initial review

process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

                               FACTUAL BACKGROUND

       The Defendant pled guilty to Counts I, II, and IV of a Superseding Indictment (Filing

No. 144). Count I alleged conspiracy to distribute methamphetamine, and Counts II and

IV alleged money laundering. In the Defendant’s Petition to Enter a Plea of Guilty, signed

by her on March 23, 2013, and at the Change of Plea hearing held on March 8, 2013, the
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Defendant indicated that she: had enough time to talk with her attorney; told her attorney

everything about her case; was satisfied with the job he had done; and had no objections

to the way her attorney has represented her. (Filing No. 256 at 1 and 2.)

       According to the Second Revised Presentence Investigation Report (“PSR”), the

Defendant received the following reductions: a two-level reduction for acceptance of

responsibility; and a one-level reduction on the government’s motion. The Defendant did

not object to the PSR. Specifically, the Defendant did not object to the absence of a minor

role reduction or the absence of a safety-valve reduction. On June 3, 2013, the Defendant

was sentenced to a term of 135 months for each count, to be served concurrently, followed

by a 5-year term of supervised release for Count I and 3-year terms of supervised release

for Counts II and IV, all to run concurrently. The Defendant did not appeal her sentence.

       On June 22, 2015, the Court entered an order reducing the Defendant’s sentence

to 120 months on all counts, to run concurrently, pursuant to Amendment 782 of the United

States Sentencing Guidelines. The Defendant did not appeal the re-sentencing.

       The Defendant now refers the Court to Amendment 794 to §3B1.2 of the

Sentencing Guidelines, effective November 1, 2015, contending that the Amendment is

retroactive, and she suggests the Court conduct a new analysis of her eligibility for a

mitigating role reduction based on the non-exhaustive list of factors set out in Application

Note 3(C).

       First, the Court finds no support for the Defendant’s contention that Amendment 794

is retroactive, or that the Defendant is entitled to a new analysis of her eligibility for a

mitigating role reduction. Second, if such an analysis were conducted, the Court would

conclude the Defendant is not entitled to a minor role reduction based on the undisputed

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facts in the PSR. Third, if the Defendant is suggesting that her counsel was ineffective due

to his failure to object to the lack of a minor role reduction in the PSR, her claim is untimely.

Under 28 U.S.C. § 2255, a defendant has one year from the date on which the judgment

of conviction becomes final to file a § 2255 motion. Similarly, her concerns about her

attorney’s failure to obtain a safety valve reduction are untimely. See United States v.

Martin, 408 F.3d 1089, 1090-91 (8th Cir. 2005); Nichols v. Bowersox, 172 F.3d 1068, 1072

(8th Cir. 1999) (in the context of 28 U.S.C. § 2244).

                                        CONCLUSION

       The Court has reviewed the record of the proceedings and concludes that the

Defendant’s Motion Under 28 U.S.C. § 2255 is untimely and without merit.

       IT IS ORDERED:

       1.     Defendant Rosaline Gonzalez’s Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside or Correct Sentenced (Filing No. 606) is denied; and

       2.     The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at her last known address.

       DATED this 14th day of December, 2016.

                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    Chief United States District Judge




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